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                       IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                                 CENTRAL DIVISION


JOSEPH WEINMAN, Individually and on Behalf of                                    PLAINTIFF
All Others Similarly Situated


vs.                                   No.4:22-cv-857-DPM


SPECTRUM PAINT COMPANY, INC.                                                   DEFENDANT


                 MOTION TO WITHDRAW—ATTORNEY DANIEL FORD


       Attorney Daniel Ford, an attorney of record herein, for his Motion to Withdraw as

counsel for all Plaintiff, states as follows:

       1.      The undersigned has resigned as a full-time member of the Sanford Law

Firm, PLLC, effective 6 October 2023.

       2.      Josh Sanford and any other attorneys of the Sanford Law Firm, PLLC, who

have entered an appearance herein will remain counsel for all Plaintiffs.

       WHEREFORE, premises considered, the undersigned respectfully requests that

the Court order Daniel Ford withdrawn and terminated as counsel for Plaintiff.

                                                     Respectfully submitted,

                                                     ATTORNEY DANIEL FORD

                                                     SANFORD LAW FIRM, PLLC
                                                     Kirkpatrick Plaza
                                                     10800 Financial Centre Pkwy, Suite 510
                                                     Little Rock, Arkansas 72211
                                                     Telephone: (800) 615-4946
                                                     Facsimile: (888) 787-2040

                                                     Daniel Ford
                                                     Ark. Bar No. 2014162
                                                     daniel@sanfordlawfirm.com
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